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                                                                                                                            ADVERSARY PROCEEDING NUMBER
              ADVERSARY PROCEEDING COVER SHEET                                                                              (Court Use Only)
                      (Instructions on Reverse)

 PLAINTIFFS                                                                                       DEFENDANTS
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 RQEHKDOIRIWKHPVHOYHVDQGDOORWKHUVVLPLODUO\VLWXDWHG                                         Power Home Solar, LLC d/b/a Pink Energy

 ATTORNEYS (Firm Name, Address, and Telephone No.)                                                ATTORNEYS (If Known)
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 PARTY (Check One Box Only)                                                                       PARTY (Check One Box Only)
 Ƒ Debtor     Ƒ U.S. Trustee/Bankruptcy Admin                                                     Ƒ Debtor     Ƒ U.S. Trustee/Bankruptcy Admin
 Ƒ Creditor   Ƒ Other                                                                             Ƒ Creditor   Ƒ Other
 Ƒ Trustee                                                                                        Ƒ Trustee
 CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
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                                                                              NATURE OF SUIT
                   (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

    FRBP 7001(1) – Recovery of Money/Property                                                       FRBP 7001(6) – Dischargeability (continued)
Ƒ                                                                                              Ƒ
Ƒ                                                                                              Ƒ
    11-Recovery of money/property - §542 turnover of property                                       61-Dischargeability - §523(a)(5), domestic support


Ƒ                                                                                              Ƒ
    12-Recovery of money/property - §547 preference                                                 68-Dischargeability - §523(a)(6), willful and malicious injury


Ƒ                                                                                              Ƒ
    13-Recovery of money/property - §548 fraudulent transfer                                        63-Dischargeability - §523(a)(8), student loan


                                                                                               Ƒ
    14-Recovery of money/property - other                                                           64-Dischargeability - §523(a)(15), divorce/sep property settlement/decree
                                                                                                    65-Dischargeability - other
    FRBP 7001(2) – Validity, Priority or Extent of Lien
Ƒ                                                                                              FRBP 7001(7) – Injunctive Relief
                                                                                               Ƒ
    21-Validity, priority or extent of lien or other interest in property


                                                                                               Ƒ
                                                                                                  71-Injunctive relief – reinstatement of stay
    FRBP 7001(3) – Approval of Sale of Property
Ƒ   31-Approval of sale of property of estate and of a co-owner - §363(h)
                                                                                                     72-Injunctive relief – other

                                                                                               FRBP 7001(8) Subordination of Claim or Interest

Ƒ
    FRBP 7001(4) – Objection/Revocation of Discharge
    41-Objection / revocation of discharge - §727(c),(d),(e)
                                                                                               Ƒ  81-Subordination of claim or interest

                                                                                               FRBP 7001(9) Declaratory Judgment

Ƒ
    FRBP 7001(5) – Revocation of Confirmation
    51-Revocation of confirmation
                                                                                               Ƒ  91-Declaratory judgment

                                                                                               FRBP 7001(10) Determination of Removed Action

Ƒ
    FRBP 7001(6) – Dischargeability                                                            Ƒ  01-Determination of removed claim or cause

Ƒ
    66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
                                                                                               Other
                                                                                               Ƒ
    62-Dischargeability - §523(a)(2), false pretenses, false representation,


Ƒ                                                                                              Ƒ
        actual fraud                                                                               SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
    67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny                      02-Other (e.g. other actions that would have been brought in state court if
                                                                                                          unrelated to bankruptcy case)
                        (continued next column)



 Ƒ Check if this case involves a substantive issue of state law                                   Ƒ Check if this is asserted to be a class action under FRCP 23
 Ƒ Check if a jury trial is demanded in complaint                                                 Demand $               Unknown
 Other Relief Sought
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                     BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES

NAME OF DEBTOR                                                                  BANKRUPTCY CASE NO.
Power Home Solar, LLC d/b/a Pink Energy                                          22-50228
DISTRICT IN WHICH CASE IS PENDING                  DIVISIONAL OFFICE                  NAME OF JUDGE
Western District of North Carolina                  Charlotte                         J. Craig Whitey
                                    RELATED ADVERSARY PROCEEDING (IF ANY)

PLAINTIFF                             DEFENDANT                            ADVERSARY PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING             DIVISIONAL OFFICE                  NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)


            V*LOEHUW-$QGLD-U

DATE                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)
                               *LOEHUW-$QGLD-U




                                                     INSTRUCTIONS

         The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists
of all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and
the jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also
may be lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an
adversary proceeding.

          A party filing an adversary proceeding must also must complete and file Form 104, the Adversary Proceeding
Cover Sheet, if it is required by the court. In some courts, the cover sheet is not required when the adversary proceeding
is filed electronically through the court's Case Management/Electronic Case Files (CM/ECF) system. (CM/ECF
captures the information on Form 104 as part of the filing process.) When completed, the cover sheet summarizes basic
information on the adversary proceeding. The clerk of court needs the information to process the adversary proceeding
and prepare required statistical reports on court activity.

         The cover sheet and the information contained on it do not replace or supplement the filing and service of
pleadings or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is
largely self-explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not
represented by an attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

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Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not presented by
an attorney, the plaintiff must sign.
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                     IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

NICHOLAS BATES, CODY FEDDER and
ELIZABETH DICKERSON on behalf of
themselves and all others similarly situated,             Bankruptcy Case No.. 22-50228
                                                                   Chapter 7
                       Plaintiffs,                          Adversary Proceeding No.:

 v.
                                                          CLASS ACTION ADVERSARY
POWER HOME SOLAR, LLC                                      PROCEEDING COMPLAINT
d/b/a PINK ENERGY

                    Defendant.

               CLASS ACTION ADVERSARY PROCEEDING COMPLAINT

       Plaintiffs Nicholas Bates, Cody Fedder and Elizabeth Dickerson (“Plaintiffs”) by and through

undersigned counsel, on behalf of themselves and all other similarly situated persons, as and for their

complaint against Defendant, allege as follows:

                                 JURISDICTION AND VENUE

       1.      This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §§

157, 1331, 1334 and 1367.
       2.      This is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A), (B) and (O).

                                     NATURE OF THE ACTION

       3.      This is a class action for the recovery by Plaintiffs and other similarly situated

employees of the Defendant of damages in the amount of 60 days’ pay and ERISA benefits by

reason of Defendant’s violation of the Plaintiffs’ rights under the Worker Adjustment and Retraining

Notification Act, 29 U.S.C. § 2101 et seq. (“WARN Act”). The Plaintiffs were employees of the

Defendant and were terminated as part of, or as a result of mass layoffs and/or plant closings ordered

by the Defendant. As such, the Defendant violated the WARN Act by failing to give the Plaintiffs
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and other similarly situated employees of the Defendant at least 60 days’ advance written notice of

termination, as required by the WARN Act. As a consequence, the Plaintiffs and other similarly

situated employees of the Defendant are entitled under the WARN Act to recover from the

Defendant their wages and ERISA benefits for 60 days, none of which has been paid.

                                             PARTIES

        4.      Upon information and belief, Defendant, was, at all relevant times to this action, a

Delaware corporation which maintained facilities at 500 Stephenson Hwy, Troy, MI 48083 (the

“Troy Facility”) and 56308 N Bay Dr, Chesterfield, MI 48051 (the “Chesterfield Facility”) and 9208

Falls of Neuse Rd Suite 120, Raleigh, NC 27615 (the “Raleigh Facility”).

        5.      Upon information and belief, Defendant also operated facilities located at Atlanta,

GA; Concord, NC; Charlotte, NC; Dallas, TX; Richmond, VA; Springfield, MO as well as other

facilities (collectively with the Troy Facility, Chesterfield Facility and Raleigh Facility, “the

Facilities”).

        6.      At all relevant times to this action, Plaintiff Nicholas Bates was an employee who was

employed by Defendant and worked at or reported to the Troy Facility until his termination without

cause on or about September 12, 2022.

        7.      At all relevant times to this action, Plaintiff Cody Fedder was an employee who was

employed by Defendant and worked at or reported to the Chesterfield Facility until his termination

without cause on or about September 11, 2022

        8.      At all relevant times to this action, Plaintiff Elizabeth Dickerson was an employee

who was employed by Defendant and worked at or reported to the Raleigh Facility until her

termination without cause on or about September 12, 2022.




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        9.      Until on or about September 1, 2022, Plaintiffs and all other similarly situated

employees, were employed by Defendant and worked at, or reported to, or were assigned work from

the Facilities (“Other Similarly Situated Employees”).

        10.     On or about September 1-22, 2022 and thereafter, Defendant ordered the termination

of Plaintiffs’ employment together with the termination of approximately 1500 other employees who

worked at or reported to or were assigned work from the Facilities as part of a mass layoff and/or

plant closing as defined by the WARN Act, for which they were entitled to receive 60 days advance

written notice under the WARN Act.

        11.     On or about October 7, 2022, Defendant filed with this Court a voluntary petition for

relief under Chapter 7 of the United States Bankruptcy Code.

                   CLASS ACTION ALLEGATIONS 29 U.S.C. § 2104 (a)(5)

        12.     The Plaintiffs and each person they seek to represent herein, were discharged on or

about September 1-22, 2022 and thereafter without cause on his or her part and are "affected

employees" within the meaning of 29 U.S.C. § 2101(a)(5).

        13.     The Plaintiffs bring this action on their own behalf and, pursuant to the WARN Act,

and Rules 7023(a) and (b)(3) of the Federal Rules of Bankruptcy and Rules 23(a) and (b) of the

Federal Rules of Civil Procedure, on behalf of all other similarly situated former employees of

Defendant who were terminated on or about September 1-22, 2022 and thereafter, who worked at the

Facilities until their terminations.

        14.     On or about September 1-22, 2022 and thereafter, Defendant terminated the

Plaintiffs’ employment as part of mass layoffs and/or plant closures which qualifies as an event for

which they were entitled to receive to sixty (60) days' advance written notice under the WARN Act.




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       15.      Defendant never gave Plaintiffs the statutorily required sixty (60) days advance

written notice of the mass layoff and/or plant closure in violation of the WARN Act.

       16.      At or about the time that the Plaintiffs was discharged on or about September 1-22,

2022 and thereafter, Defendant discharged approximately 1500 other employees at the Facilities (the

"Other Similarly Situated Former Employees").

       17.      Pursuant to WARN Act 29 U.S.C. § 2104(a)(5), the Plaintiffs maintain this claim on

behalf of each of the Class and for his or her benefit.

       18.      Each of the Other Similarly Situated Former Employees is similarly situated to the

Plaintiffs in respect to his or her rights under the WARN Act.

       19.      The Plaintiffs and the Other Similarly Situated Former Employees were discharged

by Defendant, without cause on their part.

       20.      Each Plaintiffs and each of the Other Similarly Situated Former Employees is an

"affected employee" within the meaning of WARN Act 29 U.S.C. § 2101(a)(5).

       21.      Defendant was required by the WARN Act to give the Plaintiffs and Other Similarly

Situated Former Employees at least sixty (60) days prior written notice of their respective

terminations.

       22.      Prior to their termination, neither the Plaintiffs nor Other Similarly Situated Former

Employees received written notice that complied with the requirements of the WARN Act.

       23.      Defendant failed to pay the Plaintiffs and the Other Similarly Situated Former

Employees their respective wages, salary, commissions, bonuses, accrued holiday pay and accrued

vacation for sixty (60) calendar days following their respective terminations and failed to make the

401(k) contributions and provide health insurance coverage and other employee benefits under




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ERISA in respect to them for sixty (60) calendar days from and after the dates of their respective

terminations.

                  CLASS ACTION ALLEGATIONS RULE 7023 (a) and (b)

       24.      The Plaintiffs assert their claims on behalf of themselves and the Other Similarly

Situated Former Employees pursuant to Rules 7023(a) and (b)(3) of the Federal Rules of Bankruptcy

and Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure.

       25.      The Plaintiffs and the Other Similarly Situated Former Employees constitute a class

within the meaning of Rules 7023(a) and (b)(3) of the Federal Rules of Bankruptcy and Rules 23(a)

and (b)(3) of the Federal Rules of Civil Procedure (the “Class”).

       26.      Common questions of law and fact are applicable to all members of the Class.

       27.      The common questions of law and fact arise from and concern the following facts and

actions, among others, that Defendant committed or failed to commit as to all members of the Class:

all Class Members enjoyed the protection of the WARN Act; all Class members were employees of

Defendant who, prior to the terminations, worked at the Facilities; Defendant terminated the

employment of all the members of the Class without cause on their part without giving them at least

sixty (60) days' prior written notice as required by the WARN Act; and Defendant failed to pay the

Class Members wages and to provide other employee benefits for the sixty (60) day period following

their respective terminations.

       28.      The questions of law and fact common to the members of the Class, as above noted,

predominate over any questions affecting only individual members, and thus, this Class claim is

superior to other available methods for the fair and efficient adjudication of this controversy.

       29.      The Plaintiffs’ claims are typical of the claims of other members of the Class in that

for each of the several acts described above.




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         30.   The Plaintiffs will fairly and adequately protect and represent the interests of the

Class.

         31.   The Plaintiffs have the time and resources to prosecute this action and have retained

counsel who have had extensive experience in matters involving employee rights, the WARN Act,

class action litigation and bankruptcy court litigation.

         32.   The Class is so numerous as to render joinder of all members impracticable as there

are approximately 1500 persons who are included in the Class.

         33.   The Class meets the requirements of Fed. R. Civ. P. 23(a) for class certification.

         34.   The Class meets the requirements of Fed. R. Civ. P. 23(b)(3) because the questions of

law or fact common to the members of the Class predominate over any questions affecting only

individual members, and that a class action is superior to other available methods for the fair and

efficient adjudication of the controversy.

         35.   No Class member has an interest in individually controlling the prosecution of a

separate action under the WARN Act.

         36.   No litigation concerning the WARN Act rights of any Class member has been

commenced in this Court.

         37.   Concentrating all the potential litigation concerning the WARN Act rights of the

Class members in this Court will avoid a multiplicity of suits, will conserve judicial resources and

the resources of the parties and is the most efficient means of resolving the WARN Act rights of all

the Class members.

         38.   On information and belief, the identities of the Class members are contained in the

books and records of Defendant.




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        39.     On information and belief, a recent residence address of each of the Class members is

contained in the books and records of Defendant.

        40.     On information and belief, the rate of pay and benefits that were being paid by

Defendant to each Class member at the time of his/her termination are contained in the books and

records of Defendant.

        41.     As a result of Defendant’s violation of the WARN Act, the Plaintiffs and the other

members of the Class have been damaged in amounts equal to the sum of: (a) their respective lost

wages, salaries, commissions, bonuses, accrued holiday pay, accrued vacation pay, 401(k)

contributions for sixty (60) days; (b) the health and medical insurance and other fringe benefits that

they would have received or had the benefit of receiving, for a period of sixty (60) days after the

dates of their respective terminations; and (c) medical expenses incurred during such period by such

persons that would have been covered and paid under the then applicable employee benefit plans had

that coverage continued for that period.

                                    THE CLAIM FOR RELIEF

        42.     At all relevant times, the Defendant employed 100 or more employees (exclusive of

part-time employees, i.e., those employees who had worked fewer than 6 of the 12 months prior to

the date notice was required to be given or who had worked fewer than an average of 20 hours per

week during the 60 day period prior to the date notice was required to be given (the “Part-Time

Employees”)), or employed 100 or more employees who in the aggregate worked at least 4,000

hours per week exclusive of hours of overtime within the United States.

        43.     At all relevant times, Defendant was an “employer,” as that term is defined in the

WARN Act and continued to operate as a business until it determined to order mass layoffs and/or

plant closures at the Facilities.




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       44.     On or about September 1-22, 2022 and thereafter the Defendant ordered “mass

layoffs” and/or “plant closures” at the Facilities, as those terms are defined by the WARN Act.

       45.     The mass layoffs and/or plant closures at the Facilities resulted in “employment

losses,” as that term is defined by the WARN Act for at least fifty (50) of Defendant’s employees as

well as 33% of Defendant’s workforce at each Facility, excluding “part-time employees,” as that

term is defined by the WARN Act.

       46.     The Plaintiffs and each of the other members of the Class were discharged by the

Defendant without cause on his or her part as part of or as the reasonably foreseeable result of the

mass layoff and/or plant closure ordered by the Defendant at the Facilities

       47.     The Plaintiffs and each of the other members of the Class are “affected employees” of

the Defendant within the meaning of the WARN Act.

       48.     The Defendant was required by the WARN Act to give the Plaintiffs and each of the

other members of the Class at least 60 days advance written notice of his or her termination.

       49.     The Defendant failed to give the Plaintiffs and other members of the Class written

notice that complied with the requirements of the WARN Act.

       50.     The Plaintiffs and each of the other members of the Class are “aggrieved employees”

of the Defendant as that term is defined in the WARN Act.

       51.     The Defendant failed to pay the Plaintiffs and each of the other members of the Class

their respective wages, salary, commissions, bonuses, accrued holiday pay and accrued vacation for

60 days following their respective terminations and failed to make the pension and 401(k)

contributions and provide employee benefits under ERISA, other than health insurance, for 60 days

from and after the dates of their respective terminations.

       52.     The relief sought in this proceeding is equitable in nature.




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       WHEREFORE, Plaintiffs on their own behalf and on behalf of the other Class members

demand judgment, jointly and severally, against Defendant as follows:

       A.      An allowed claim against the Defendant in favor of the Plaintiffs and Class members

equal to the sum of: (a) unpaid wages, salary, commissions, bonuses, accrued holiday pay, accrued

vacation pay, pension and 401(k) contributions and other ERISA benefits, for 60 days, that would

have been covered and paid under the then applicable employee benefit plans had that coverage

continued for that period, all determined in accordance with the WARN Act, The first $15,150.00 of

each Class member’s allowed WARN Act claim against the Defendant is entitled to wage priority

claim status under 11 U.S.C. § 507(a)(4) and (5), and any remainder as a general unsecured claim;

       B.      Certification that the Plaintiffs and the other Class members constitute a single class;

       C.      Appointment of the undersigned attorneys as Class Counsel;

       D.      Appointment of Plaintiffs as the Class Representatives and payment of reasonable

compensation to them for their services as such;

       E.      An allowed claim against the Defendant under 11 U.S.C. § 503 for the reasonable

attorneys’ fees and the costs and disbursements that the Plaintiffs incur in prosecuting this action, as

authorized by the WARN Act, 29 U.S.C. § 2104(a)(6); and

       F.      Such other and further relief as this Court may deem just and proper.

       This 12th day of October, 2022.

                                               Respectfully submitted,

                                               /S/ GILBERT J. ANDIA, JR.
                                               GILBERT J. ANDIA, JR. (NCSB NO. 16533)
                                               HIGGINS BENJAMIN, PLLC
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                                               GREENSBORO, NC 27401
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